         Case 1:23-cv-09120-ARR-PK Document 8 Filed 12/13/23 Page 1 of 3 PageID #: 21

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

 NICOLAS ROMERO HERNANDEZ, individually and                         )
      on behalf of all others similarly situated                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 23-cv-9120 ARR-PK
                                                                    )
   J & M CORONA DELI CORP. and YANA FOODS                           )
  INC. d/b/a J & M CORONA DELI, JULIO HERNAN                        )
      MARCA and JIGNESHKUMAR PATEL, as                              )
                    individuals,                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) J & M CORONA DELI CORP., 91-13 Corona Avenue, Elmhurst, NY 11373
                                           YANA FOODS INC. d/b/a J & M CORONA DELI, 91-13 Corona Avenue, Elmhurst, NY
                                           11373
                                           JULIO HERNAN MARCA , 91-13 Corona Avenue, Elmhurst, NY 11373
                                           JIGNESHKUMAR PATEL, 91-13 Corona Avenue, Elmhurst, NY 11373
                                           J & M CORONA DELI CORP. (DOS ID#5650356)
                                           YANA FOODS INC. d/b/a J & M CORONA DELI (DOS ID# 6021757)

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                       Roman Avshalumov, Esq.
                                       80-02 Kew Gardens Road, Suite 601
                                       Kew Gardens, NY 11415




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                             Brenna Mahoney

                                                                             CLERK OF COURT


Date:      12/13/2023                                                          s/Kimberly Davis
                                                                                         Signature of Clerk or Deputy Clerk
           Case 1:23-cv-09120-ARR-PK Document 8 Filed 12/13/23 Page 2 of 3 PageID #: 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 23-cv-9120 ARR-PK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
Case 1:23-cv-09120-ARR-PK Document 8 Filed 12/13/23 Page 3 of 3 PageID #: 23




                                          RIDER TO SUMMONS

                              Civil Case No.: _______________________

                                     FULL COMPLAINT CAPTION:

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------------X        Civil Case No.:
 RIGOBERTO GUALLPA, individually and on behalf of all
 others similarly situated,
                                                                               COLLECTIVE ACTION
                                                 Plaintiff,                       COMPLAINT
             -against-
                                                                                   JURY TRIAL
 RENNON CONSTRUCTION CORP., EASTERN HEIGHTS                                        DEMANDED
 BUILDERS INC. and BK CONSTRUCTION SVCS INC.,
 AMANDEEP SINGH and ASHWANI KUMAR, as
 individuals,

                                                 Defendants.
 --------------------------------------------------------------------------X

  Via Personal Service:
  RENNON CONSTRUCTION CORP.
  217-78 Hempstead Ave., Queens Village, NY 11429
  EASTERN HEIGHTS BUILDERS INC.
  7 South Drive, Roslyn, NY 11576
  BK CONSTRUCTION SVCS INC.
  7 South Drive, Roslyn, NY 11576

  AMANDEEP SINGH
  7 South Dr., Roslyn, NY 11576

  ASHWANI KUMAR
  7 South Dr., Roslyn, NY 11576

 Service via Secretary of State:
  RENNON CONSTRUCTION CORP. (DOS ID# 4776093)
  217-78 Hempstead Ave., Queens Village, NY 11429
  EASTERN HEIGHTS BUILDERS INC. (DOS ID# 5757996)
  7 South Drive, Roslyn, NY 11576
  BK CONSTRUCTION SVCS INC. (DOS ID# 5551843)
  84-63 256th St., Floral Park, NY 11001

                                                         1
